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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


______________________________________________________________________________

United States of America,                                   Criminal No. 09-55 (5) (RHK/SER)

               Plaintiff,                                              ORDER

       v.

Earl David Bowser,

            Defendant.
______________________________________________________________________________



       Before the Court is Defendant’s Motion for a reduction of his sentence based upon

amendments to the Sentencing Guidelines which became effective November 1, 2011—those

amendments lowered the base offense levels applicable to cocaine base/“crack” offenses.
       Because Defendant was determined to be a “career offender,” however, he is not eligible

for any sentence reduction. See United States v. Tolliver, 570 F.3d 1062 (8th Cir. 2009).

Accordingly, and upon all the files, records, and proceedings herein, IT IS ORDERED that

Defendant’s Motion for Reduction of Sentence (Doc. No. 342) is DENIED.

Dated: February 8, 2012
                                             s/Richard H. Kyle____________
                                             RICHARD H. KYLE
                                             United States District Judge
